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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

MICHAEL J. RYAN,                                        §
                                                        §
                 Plaintiff,                             § CIVIL ACTION NO. 4:20-CV-00316-SDJ-
v.                                                      §               CAN
                                                        §
SOUTHWEST CREDIT SYSTEMS, L.P.,                         §
                                                        §
                 Defendant.                             §

                               ORDER GOVERNING PROCEEDINGS

       This Order shall govern proceedings in this case. Counsel should immediately read the
Amendments to the Federal Rules of Civil Procedure, effective December 1, 2015, as many
deadlines have been shortened. The following deadlines are hereby set:

        1.       Rule 26(f) attorney conference on or before: July 6, 2020.

        2.       Complete initial mandatory disclosure required by this Order: July 16, 2020.

        3.       File joint report of attorney conference: July 20, 2020. This should follow initial
                 mandatory disclosures, so a realistic proposal regarding depositions and other
                 discovery can be included.

        4.       The case is SET for a Rule 16 management conference: Tuesday, August 4,
                 2020, at 2:30 p.m., in the United States Courthouse – Annex, 200 N. Travis St.,
                 Sherman, Texas 75090. Lead counsel for each party, with authority to bind their
                 respective clients, and all unrepresented parties, shall be present. Continuance of
                 the management conference will not be allowed absent a showing of good cause.1

                              RULE 26(F) ATTORNEY CONFERENCE

        Rule 26(f) requires attorneys of record and all unrepresented parties to confer and attempt
in good faith to agree on a proposed scheduling order (see Appendix 1) and to electronically file a
joint report outlining their proposals. The conference may be by telephone.


1
 Before the case management conference, counsel and unrepresented parties should review the most recent versions
of the Federal Rules of Civil Procedure and the Local Rules for the Eastern District of Texas. The Local Rules are
available on the Eastern District of Texas website (www.txed.uscourts.gov).



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        Before commencing the Rule 26(f) conference, counsel must discuss settlement options
with their clients, including whether an offer or demand should be made at the Rule 26(f) attorney
conference. Counsel should also inquire whether their clients are amenable to trial before a United
States magistrate judge. Parties willing to consent should file the appropriate form electronically
(see form on Eastern District of Texas website) as soon as possible, so that the case can be reset
for management conference before the magistrate judge to whom the case is assigned.

       The parties must include the following matters in the joint conference report:

       1.      A brief factual and legal synopsis of the case.

       2.      The jurisdictional basis for this suit.

       3.      A list of the correct names of the parties to this action and any anticipated additional
               or potential parties.

       4.      A list of any cases related to this case pending in any state or federal court,
               identifying the case numbers and courts along with an explanation of the status of
               those cases.

       5.      Confirm that initial mandatory disclosure required by Rule 26(a)(1) and this order
               has been completed.

       6.      Proposed scheduling order deadlines. Appendix 1 has the standard deadlines.
               Explain any deviations from standard schedule. Now is the time to inform the
               court of any special complexities or need for more time before the trial setting.
               The standard schedule is planned so that there is time to rule on dispositive motions
               before parties begin final trial preparation.

       7.      Describe in accordance with Rule 26(f):

               (i)     The subjects on which discovery may be needed, when discovery should be
                       completed, and whether discovery should be conducted in phases or be
                       limited to or focused on particular issues.

               (ii)    Any issues relating to disclosure or discovery of electronically stored
                       information (“ESI”), including the form or forms in which it should be
                       produced (whether native or some other reasonably usable format) as well
                       as any methodologies for identifying or culling the relevant and
                       discoverable ESI. Any disputes regarding ESI that counsel for the parties
                       are unable to resolve during conference must be identified in the report.


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            (iii)   Any agreements or disputes relating to asserting claims of privilege or
                    preserving discoverable information, including electronically stored
                    information and any agreements reached under Federal Rule of
                    Evidence 502 (such as the potential need for a protective order and any
                    procedures to which the parties might agree for handling inadvertent
                    production of privileged information and other privilege waiver issues). A
                    party asserting that any information is confidential should immediately
                    apply to the court for entry of a protective order. Unless a request is made
                    for modification, the court will use the form found on the Eastern District
                    website.

            (iv)    Any changes that should be made in the limitations on discovery imposed
                    by the Rules, whether federal or local, and any other limitations that should
                    be imposed, as well as

            (v)     Whether any other orders should be entered by the court pursuant to Federal
                    Rule of Civil Procedure 26(c) or 16(b), (c)

      8.    State the progress made toward settlement, and the present status of settlement
            negotiations, including whether a demand and offer has been made. If the parties
            have agreed upon a mediator, also state the name, address, and phone number of
            that mediator, and a proposed deadline for mediation. An early date is encouraged
            to reduce expenses. The court will appoint a mediator if none is agreed upon.

      9.    The identity of persons expected to be deposed.

      10.   Estimated trial time and whether a jury demand has been timely made.

      11.   The names of the attorneys who will appear on behalf of the parties at the
            management conference (the appearing attorney must be an attorney of record and
            have full authority to bind the client).

      12.   Whether the parties jointly consent to trial before a magistrate judge.

      13.   Any other matters that counsel deem appropriate for inclusion in the joint
            conference report or that deserve the special attention of the Court at the
            management conference.




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                                          DISCOVERY

        Initial mandatory disclosure pursuant to Rule 26(a)(1) shall be completed not later than
10 days after the deadline for the Rule 26 attorney conference and shall include the following,
in addition to information required by Rule 26(a)(1):

       1.      The correct names of the parties to the action.

       2.      The name and, if known, address and telephone number of any potential parties to
               the action.

       3.      The name and, if known, the address and telephone number of persons having
               knowledge of facts relevant to the claim or defense of any party, a brief
               characterization of their connection to the case and a fair summary of the substance
               of the information known by such person. This may be combined with the list of
               persons required under Rule 26(a)(1)(A)(i) so two lists are not needed.

       4.      The authorizations described in Local Rule CV-34.

       5.      A copy of all documents, electronically stored information, witness statements, and
               tangible things in the possession, custody, or control of the disclosing party that are
               relevant to the claim or defense of any party. This may be combined with
               disclosures under Rule 26(a)(1)(A)(ii) so duplication is avoided. In cases involving
               a disproportionate burden of disclosure of a large number of documents on one
               party, the parties may agree on prior inspection to reduce the need for copy. Parties
               are encouraged to agree upon provision of information by electronic means.

       See Local Rule CV-26(d) for meaning of “relevant to the claim or defense of any party.”
A party that fails to timely disclose such information will not, unless such failure is harmless,
be permitted to use such evidence at trial, at a hearing, or in support of a motion. A party is
not excused from making its disclosures because it has not fully completed its investigation of the
case. Moreover, the proportionality standard set forth in Rule 26(b)(2)(C) should be applied in
each case when formulating a discovery control plan. To further the application of the
proportionality standard in discovery, requests for production of ESI and related responses should
be reasonably targeted, clear, and as specific as practicable.

        Early Rule 34 requests may be delivered in compliance with Rule 26(d)(2). See Fed. R.
Civ. P. 26(d)(2). However, these requests are not considered served until the Rule 26(f) conference
has occurred. All other discovery shall not commence until the Rule 26(f) conference. See Fed.
R. Civ. P. 26(d), 34. Depositions may be taken, and initial mandatory disclosure shall occur,




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before the Rule 16 management conference, so that counsel are in a position to intelligently discuss
additional required discovery, and scheduling of the case.

       Following the management conference, the court will enter a scheduling order setting
deadlines controlling disposition of the case. If the court concludes that a management
conference is not necessary after receiving the parties’ 26(f) report, it may enter a scheduling
order and cancel the management conference.

         The fact that the scheduling order will have a deadline for completion of discovery is NOT
an invitation, or authorization, to withhold documents or information required to be disclosed as
part of initial mandatory disclosure, under the guise of “supplementation.” Attorneys are expected
to review their client’s files and to conduct at least preliminary interviews of their clients and
potential witnesses under their control, so as to fully comply with the initial mandatory disclosure
requirements by the deadline set in this order. This will allow experts to be timely identified and
prepared to testify, witnesses to be efficiently deposed, and any follow-up paper discovery to be
completed by the deadline to be set for completion of discovery. The court expects that, in most
cases, after reading the pleadings and having a frank discussion of the issues and discovery during
the Rule 26 attorney conference, a review of the opposing party’s initial disclosures should alert
an attorney to any remaining information which should have been disclosed, so that such
information can be provided before the Rule 16 management conference.

                                   DISCOVERY DISPUTES

       A magistrate judge is available during business hours to immediately hear discovery
disputes and to enforce provisions of the rules. The hotline is an appropriate means to obtain an
immediate ruling on whether a discovery request is relevant to the claims or defenses and on
disputes which arise during depositions. The hotline number is (903) 590-1198. See Local Rule
CV-26(e).

                             CONTESTED MOTION PRACTICE

       Counsel and parties shall comply with Local Rules CV-7, 10, 11, and 56, in addition to the
Federal Rules of Civil Procedure. Local Rule CV-7 requires you to attach affidavits and other
supporting documents to the motion or response. Labeled tabs on the attachments to the courtesy
copy will make it easier to find them.

        If the motion with attachments exceeds 20 pages, the court requests that you bind (spiral
or otherwise) the courtesy copy at the left to make it easier to read.

        Pursuant to Local Rule CV-7(b), highlight in the courtesy copy, the portions of the
affidavits or other supporting documents which are cited in your motion or response.


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                       SAFEGUARDING PERSONAL INFORMATION

        The Judicial Conference of the United States has implemented policies to protect sensitive
private information about parties, witnesses, and others involved in a civil, criminal, or bankruptcy
case. To that end, all documents filed with the court and made available to the public, whether
electronically or on paper, should limit certain information as follows:

        •       for Social Security numbers, use only the last four digits;
        •       for financial account numbers, use only the last four digits;
        •       for names of minor children, use only their initials;
        •       for dates of birth, use only the year; and
        •       (in criminal cases) for home addresses, use only the city and state.

         If such information is elicited during testimony or other court proceedings, it will become
available to the public when the official transcript is filed at the courthouse unless, and until, it is
redacted. The better practice is for you to avoid introducing this information into the record in the
first place. Please take this into account when questioning witnesses or making other statements
in court.

                                      FAILURE TO SERVE

        Any defendant who has not been served with the summons and complaint within 90 days
after the filing of the complaint shall be dismissed, without further notice, unless prior to such
time the party on whose behalf such service is required shows good cause why service has not
been made. See Fed. R. Civ. P. 4(m).

                                      FICTITIOUS PARTIES

        The name of every party shall be set out in the complaint. See Fed. R. Civ. P. 10(a). The
use of fictitious names is disfavored by federal courts. Doe v. Blue Cross & Blue Shield, 112 F.3d.
869 (7th Cir. 1997). It is hereby ORDERED that this action be DISMISSED as to all fictitious
parties. Dismissal is without prejudice to the right of any party to take advantage of the provisions
of Fed. R. Civ. P. 15(c).

                                          SETTLEMENT

        Plaintiff’s counsel shall immediately notify the court upon settlement.




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                                         COMPLIANCE

        Attorneys and pro se litigants who appear in this court must comply with the deadlines set
forth in the Federal Rules of Civil Procedure, the Local Rules for the Eastern District of Texas and
this order. A party is not excused from the requirements of a Rule or scheduling order by
virtue of the fact that dispositive motions are pending, the party has not completed its
investigation, the party challenges the sufficiency of the opposing party’s disclosure, or
because another party has failed to comply with this order or the rules.

        Failure to comply with relevant provisions of the Local Rules, the Federal Rules of Civil
Procedure, or this order may result in the exclusion of evidence at trial, the imposition of sanctions
by the court, or both. Counsel are reminded of Local Rule AT-3, particularly AT-3(I) & (J).


        SIGNED this 16th day of June, 2020.




                                    ___________________________________
                                    Christine A. Nowak
                                    UNITED STATES MAGISTRATE JUDGE




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                                                     Appendix 1

                           PROPOSED SCHEDULING ORDER DEADLINES

        The following actions shall be completed by the date indicated.1 (The times indicated are
the standard for most cases. Counsel should be prepared to explain the need for requested changes)

____________________                         Deadline for motions to transfer.
(1 week after mgmt conf.)

____________________                         Deadline to add parties.
(6 weeks after mgmt conf.)

____________________                         Mediation must occur by this date.

6 weeks prior to mediation                   Deadline by which the parties shall notify the Court of the
                                             name, address, and telephone number of the agreed-upon
                                             mediator, or request that the Court select a mediator, if they
                                             are unable to agree on one.

____________________                         Plaintiff’s disclosure of expert testimony pursuant to Fed.
(10 weeks after mgmt conf.)                  R. Civ. P. 26(a)(2) and Local Rule CV-26(b).

____________________                         Deadline for Plaintiff to file amended pleadings.
(12 weeks after mgmt conf.)                  (A motion for leave to amend is required.)

_______ _____________                        Defendant’s disclosure of expert testimony pursuant to Fed.
(14 weeks after mgmt conf.)                  R. Civ. P. 26(a)(2) and Local Rule CV-26(b).

____________________                         Deadline for Defendant’s final amended pleadings.
(14 weeks after mgmt conf.)                  (A motion for leave to amend is required.)

6 weeks after disclosure                     Deadline to object to any other party’s expert witnesses.
of an expert is made                         Objection shall be made as a motion to strike or limit
                                             expert testimony and shall be accompanied by a copy
                                             of the expert’s report in order to provide the court with
                                             all the information necessary to make a ruling on any
                                             objection.

____________________                         Deadline for motions to dismiss, motions for summary
(14 weeks after mgmt conf.                   judgment, or other dispositive motions.
but no later than 110 days prior
to deadline for submission of
Joint Final Pretrial Order)



1
  If a deadline falls on a Saturday, Sunday, or a legal holiday as defined in Fed. R. Civ. P. 6, the effective date is the
first federal court business day following the deadline imposed.



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____________________                         All discovery shall be commenced in time to be completed
(24 weeks after mgmt conf.)                  by this date.


_____________________                 Notice of intent to offer certified records.
(6 weeks before final pretrial conf.)


____________________                  Counsel and unrepresented parties are each responsible for
(6 weeks before final pretrial conf.) contacting opposing counsel and unrepresented parties to
                                      determine how they will prepare the Joint Final Pretrial Order
                                      (See Local Rule CV-16(b)) and Joint Proposed Jury
                                      Instructions and Verdict Form (or Proposed Findings of Fact
                                      and Conclusions of Law in non-jury cases).

___________________                   Video Deposition Designation due. Each party who
(5 weeks before final pretrial conf.) proposes to offer a deposition by video shall serve on all
                                      other parties a disclosure identifying the line and page
                                      numbers to be offered. All other parties will have seven
                                      calendar days to serve a response with any objections and
                                      requesting cross examination line and page numbers to be
                                      included. Counsel must consult on any objections and only
                                      those which cannot be resolved shall be presented to the
                                      court. The party who filed the initial Video Deposition
                                      Designation is responsible for preparation of the final edited
                                      video in accordance with all parties’ designations and the
                                      court’s rulings on objections.

___________________                   Motions in limine due.
(30 days before final pretrial conf.) File Joint Final Pretrial Order (See www.txed.uscourts.gov).


                                      Response to motions in limine due.2
(2 weeks before final pretrial conf.) File objections to witnesses, deposition extracts, and exhibits,
                                      listed in pre-trial order.3 (This does not extend deadline to
                                      object to expert witnesses.) File Proposed Jury
                                      Instructions/Form of Verdict (or Proposed Findings of
                                      Fact and Conclusions of Law).



2
  This is not an invitation or requirement to file written responses. Most motions in limine can be decided without a
written response. But, if there is particularly difficult or novel issue, the Court needs some time to review the matter.
To save time and space respond only to items objected to. All others will be considered to be agreed. Opposing
counsel shall confer in an attempt to resolve any dispute over the motions in limine within five calendar days of the
filing of any response. The parties shall notify the court of all the issues which are resolved.
3
 Within five calendar days after the filing of any objections, opposing counsel shall confer to determine whether
objections can be resolved without a court ruling. The parties shall notify the court of all issues which are resolved.
The court needs a copy of the exhibit or the pertinent deposition pages to rule on the objection.



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 Date will be set by Court.     If numerous objections are filed, the court may set a
 Usually within 10 days prior   hearing to consider all pending motions and objections.
 to final pretrial conf.

 May 26, 2021                   Final Pretrial Conference at 9:00 a.m. at the United States
                                Courthouse located at 7940 Preston Road, Courtroom 105,
                                Plano, Texas 75024. Date parties should be prepared to try
                                case. All cases on the Court’s Final Pretrial Conference
                                docket for this day have been set at 9:00 a.m. However, prior
                                to the Final Pretrial Conference date, the Court will set a
                                specific time between 9:00 a.m. and 4:00 p.m. for each case,
                                depending on which cases remain on the Court’s docket.

 To be determined               10:00 a.m. Jury Trial at the United States Courthouse located
                                at 7940 Preston Road, Courtroom 105, Plano, Texas 75024.
                                Cases that remain for trial following the Court’s Pretrial
                                docket will be tried between 6/1/2021 – 6/30/2021. A specific
                                trial date in this time frame will be selected at the Final
                                Pretrial Conference.




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